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                            UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

In re:

EDGAR C. GODFREY
NANCY J. GODFREY                                             Case No.: 2:23-bk- 01370-FMD

Debtors
                                  /

                           NOTICE OF PRELIMINARY HEARING

NOTICE IS GIVEN THAT:

         1. A Preliminary Hearing is scheduled for August 7, 2025 at 3:00 PM Ft. Myers, FL - Room

4-102, Hearing Room, United States Courthouse, 2110 First Street, Ft. Myers, FL. before the

Honorable Judge Caryl E. Delano, United States Bankruptcy Judge, on the following matter:

          DEBTOR, NANCY GODFREY’S, OBJECTION TO PROOF OF CLAIM
         OF COASTAL RESOURCE STAFFING, LLC, PROOF OF CLAIM NO. 24-1

         2. Unless otherwise notified, Judge Delano will conduct all Fort Myers hearings by

Zoom from Tampa Courtroom 9A. Parties may attend the hearing by video or telephone via

Zoom. UNLESS INSTRUCTED OTHERWISE, PARTIES MAY NOT APPEAR IN PERSON

AT THE FORT MYERS COURTHOUSE. Parties are directed to consult Judge Delano’s

Procedures Governing Court Appearances regarding policies and procedures for attendance at

hearings by video or telephone via Zoom, available at

https://www.flmb.uscourts.gov/judges/delano. If you are unable to access the Court’s website,

please contact the Courtroom Deputy at 813-301-5195 no later than 3:00 p.m. one business day

before the date of the hearing.

         3. The Court may continue this matter upon announcement made in open court without
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further notice.

       4. Any party opposing the relief sought at this hearing must appear at the hearing or any

objections or defenses may be deemed waived.


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of this Notice of Preliminary Hearing

of Debtor Nancy Godfrey’s Objection to Proof of Claim of Kimberly Whelpley, Proof of Claim

No. 21-3 (Doc.74) has been served electronically or by regular U.S. mail to the United States

Trustee, 501 E. Polk Street, Suite 1200, Tampa, Florida 33602 Chapter 13 Trustee, Jon Waage,

P.O. Box 25001, Bradenton, FL 34206-5001; Coastal Resource Staffing, LLC, c/o Kimberly

Whelpley, its Member, 66 Hasell St., Charleston, SC 29401; Jennifer Ivey, Attorney for

Kimberly Whelpley, Walker Gressette & Linton, LLC, 66 Hasell Street, Charleston, SC 29401;

the Debtor, Nancy Godfrey, 510 Via Cintia, Punta Gorda FL 33952 on this 11th of July 2025.



                                                    /s/ Benjamin G. Martin
                                                    Benjamin G. Martin, Esq.
                                                    Attorney for Movant
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